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                         IN THE UNITED STATES DISTRICT
                       COURT FOR THE NORTHERN DISTRICT
                          OF ILLINOIS EASTERN DIVISION


 XUEYAN CHEN
          Plaintiff,                               Case No. 1:24-cv-13140

 v.                                                Honorable Jorge L. Alonso

 PARTNERSHIPS AND                                  Magistrate Judge the
 UNINCORPORATED ASSOCIATIONS                       Honorable Beth W. Jantz
 IDENTIFIED ON SCHEDULE “A”,

                Defendants.




                        NOTICE OF VOLUNTARY DISMISSAL



Pursuant to FRCP 4(a)(1)(A)(i), Plaintiff hereby inform this Court that Defendant

     JASEN Number
_______________________                 101
                        (Defendant No. _____)         Amazon
                                              with ______________ seller ID no.

A2MAQQXR4Z52K9
_________________, identified in Schedule A of the Complaint, and Plaintiff have reached

Settlement. Plaintiff hereby voluntarily dismisses Defendant from this dispute, each party to

bear its own fees, costs, and expenses.



      23 April 2025
Dated ____________________                                 Respectfully Submitted:



                                                           ________________________

                                                           Robert M. DeWitty
                                                           DeWitty and Associates
                                                           Attorney, Plaintiff
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                                                           Fax: 202-513-8071
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                                CERTIFICATE OF SERVICE



       The undersigned certifies that a true and correct copy of the above and foregoing

                                          23 April 2025
document was electronically filed on _______________________ with the Clerk of Court

using the CM/ECF system, which will automatically send an email notification of such filing

to all registered attorneys of record.



                                                         ____________________________

                                                          Robert M. DeWitty
